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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. Nos. 11053, 12015 & 14568


                                    CERTIFICATION OF COUNSEL

         I, Kimberly A. Brown, counsel to FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession (the “Debtors”), hereby certify as follows to the best of my knowledge, information

and belief:

         1.       On April 3, 2024, NuGenesis Ou and NuGenesis PTY Ltd. (collectively, “NuGen”),

filed with the United States Bankruptcy Court for the District of Delaware (the “Court”) the Motion

to Vacate the Order Granting FTX Debtors’ Motion to Estimate Claims Based on Digital Assets

with Respect to Nugenesis Ou and Nugenesis PTY Ltd. [D.I. 11053] (the “Motion”). 2

         2.       On April 17, 2024, the Debtors filed the Debtors’ Objection to Motion to Vacate

the Order Granting FTX Debtors' Motion to Estimate Claims based on Digital Assets with Respect

to NuGenesis Ou and NuGenesis PTY Ltd. [D.I. 12015].

         3.       On May 10, 2024, NuGen filed the Reply in Support of Motion to Vacate the Order

Granting FTX Debtors’ Motion to Estimate Claims Based on Digital Assets with Respect to

Nugenesis Ou and Nugenesis PTY Ltd. [D.I. 14568].


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Motion.



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         4.       On May 23, 2024, the Court held a hearing (the “Hearing”) to consider, among

other things, entry of the order approving the Motion. For the reasons stated on the record at the

Hearing, the Court denied the relief requested in the Motion.

         5.       Consistent with the statements made on the record at the Hearing, the Debtors have

prepared a proposed form of order denying the Motion (the “Order”), a copy of which is attached

hereto as Exhibit A.

         6.       The Order has been circulated to counsel for NuGen. Counsel for NuGen reviewed

the Order and advised that he believes the Order is consistent with the record at the Hearing and

that NuGen has no objection to entry of the Order. In accordance with the Court’s electronic order

processing procedures, a copy of the Order shall be uploaded to CM/ECF.

         7.       Accordingly, the Debtors respectfully request that the Court enter the proposed

Order at its earliest convenience.




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